Case 8:17-Cv-01350-.]DW-AEP Document 16 Filed 11/29/17 Page 1 of 1 Page|D 62

UNI'I`ED STATES DIS'I`RICT COURT
MIDDLE DISTRlCT OF FL()RIDA

 

TAMPA DIVISI()N
CAROLYN I-IAMPTON,
Plaintiff,
v. Case No. 8:17-cv-1350-T-27AEP
MEDICREDIT, INC.,
Defendant.
/
ORDER

BEFORE THE COURT is the Stipulation of Dismissal With Prejudice (Dkt. 15). Upon
consideration, this case is DISMISSED with prejudice pursuant to Federal Rule of Civil Procedure
41(3)(1)(A)(ii). The Clerk is directed to close the file.

13.,
DONE AND ORDERED this aa day of November, 2017.

JA@§ 1). wHITTEMoRE
Unl d States District Judge

Copies to: Counsel of record

